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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10

 11    MICHAEL CHRISTOPHER                    Case No. SACV 21-01484-CJC (RAO)
       KHALAF,
 12
                           Plaintiff,
 13                                           JUDGMENT
             v.
 14
       JAMES TORRANCE, et al.,
 15
                           Defendants.
 16

 17         In accordance with the Order Dismissing Complaint issued concurrently
 18   herewith, IT IS ORDERED AND ADJUDGED that this action is DISMISSED
 19   without prejudice.
 20

 21   DATED: November 1, 2021
                                          ________________________________________
 22
                                          CORMAC J. CARNEY
 23                                       UNITED STATES DISTRICT JUDGE

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